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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION



SAMUEL ERIC BROWN,
      Plaintiff,

v.                                                 Case No. 3:22cv16776-LC-HTC

DR. RODRIGUEZ,
     Defendant.
_________________________/

                      REPORT AND RECOMMENDATION

      This matter is before the Court on Plaintiff’s amended complaint, which seeks

to assert a claim for a violation of the Eighth Amendment under 42 U.S.C. § 1983.

ECF Doc. 11.       Upon consideration and for the reasons set forth below, the

undersigned respectfully recommends this case be DISMISSED for failure to state

a claim for deliberate indifference. Also, dismissal is appropriate as Plaintiff has

already been given an opportunity to amend his complaint and did not cure the

deficiencies identified by the Court.

I.    BACKGROUND

      Plaintiff, a prisoner proceeding pro se and in forma pauperis, initiated this

action by filing a civil rights complaint purporting to assert claims under 42 U.S.C.

§ 1983. In his initial complaint, Plaintiff alleged his Eighth Amendment rights were
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violated when Defendant, Dr. Rodriguez, filed the “wrong paperwork,” leading to

Plaintiff missing a scheduled surgery, as a result of which he incurred permanent

damage and pain.           ECF Doc. 1.         Upon screening the initial complaint, the

undersigned issued a detailed amend order which advised Plaintiff that he had failed

to state a claim for relief, explained the standard for stating such a claim under the

Eighth Amendment, and allowed Plaintiff an opportunity to file an amended

complaint. ECF Doc. 9.

       On October 31, 2022, Plaintiff filed his amended complaint.                           Despite

including additional facts, the amended complaint fails to cure a critical

deficiency – it fails to include any facts to show Dr. Rodriguez’s failure to file the

correct paperwork was anything more than an inadvertent mistake. Also, in the

amended complaint, Plaintiff sues Dr. Rodriguez in his “official capacity,” however,

he has alleged no facts to establish entity liability on Dr. Rodriguez’s employer. 1



1
  Plaintiff identifies Dr. Rodriguez as working for Santa Rosa CI. As the Court understands it, the
Florida Department of Corrections has a contract with Centurion to provide medical services to its
facilities. A claim against Dr. Rodriguez in his official capacity is a claim against Centurion itself.
Because Centurion is a private entity performing public functions, Plaintiff is required to allege “a
policy or custom by which the constitutional deprivation was inflicted” to state a § 1983 claim
against Centurion. German v. Broward Cty. Sheriff's Office, 315 F. App’x 773, 776 (11th Cir.
2009) (citing Buckner v. Toro, 116 F.3d 450, 452–53 (11th Cir. 1997)). “A policy or custom is
established by showing a persistent and widespread practice and an entity’s actual or constructive
knowledge of such customs, though the custom need not receive formal approval.” Id. (citing
Depew v. City of St. Marys, Ga., 787 F.2d 1496, 1499 (11th Cir. 1986)). The policy or custom
must be the “moving force” behind the constitutional violation. City of Canton v. Harris, 489 U.S.
378, 389 (1989). Plaintiff, however, does not allege any such policy or custom caused a
constitutional violation.


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The factual allegations of the amended complaint are set forth below and accepted

as true for purposes of this report and recommendation.

      On December 18, 2020, Plaintiff “broke [his] left and right heels . . . and was

sent to private sector Doctor at Baptist Hospital because [he] could not be treated by

Doctors of Santa Rosa Correctional Institution” (“SRCI”), where Plaintiff was

incarcerated at the time. ECF Doc. 11 at 5. The doctors at Baptist Hospital

determined two surgeries “needed to be performed to replace and properly repair

[Plaintiff’s] left broken heel.” Id. “On December 20, 2020 a 8" rod was placed in

[Plaintiff’s] left heel and [Plaintiff] was sent back to [SRCI] with 2nd surgery

scheduled under the care of a Dr. Rodriguez.” Id. The second surgery was

“necessary” to “properly repair [Plaintiff’s] left heel and remove 8" rod from [it]

after swelling reduced.” Id. at 5–6. The surgery was scheduled for January 2021 by

“private sector specialist at Baptist Hospital” through a phone conversation with Dr.

Rodriguez. Id. at 5–6, 8.

      Dr. Rodriguez “is a physician under contract with the state,” which requires

him “to provide care and services to state inmates at [SRCI],” and pursuant to which

Plaintiff was placed under his care. Id. at 6. He “is not an orthopedic specialist” and

knew he could not perform the second surgery and did not have the tools needed for

it. Id. at 6–7. Dr. Rodriguez was informed of the “window period” for performing




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the surgery, but “failed to file proper paperwork” to allow the surgery to proceed as

scheduled. Id.

      When Plaintiff “returned to Baptist Hospital to have 8" rod removed,” he was

told “they tried to contact Dr. Rodriguez during holidays of Christmas and New Year

but could not get in contact with him until after the holiday and window period was

missed for successful second surgery.”        Id. at 7.   Additionally, “[w]hen Dr.

Rodriguez sent [Plaintiff] to R.M.C. Correctional Institution for follow up they said

that heel surgery would not be performed by then.” Id. Plaintiff’s medical records

also include “a notation that second surgery was missed because Dr. Rodriguez did

not place the appropriate paperwork in to allow second successful replacement of

heel surgery.” Id.

      Because Plaintiff missed his second surgery, his “left heel is displaced and

crooked and very painful to walk on still to this day.” Id. “The actions of Doctor

Rodriguez has [sic] ensured [Plaintiff] a chronic life of pain in [his] left heel while

standing also walking.”     Id. at 8.    Specifically, “Dr. Rodriguez has ensured

[Plaintiff’s] heel to remain displaced and crooked and this could have been prevented

by second surgery that orthopedic surgeons had scheduled with Dr. Rodriguez for

January 2021.” Id. Additionally, “[t]he pain in left heel without medication that is

habit forming will remain because of failure by Doctor Rodriguez to file and to

provide proper paperwork to allow [Plaintiff] to go to Baptist Hospital for second



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necessary surgery.” Id. Dr. Rodriguez’s “[f]ailure to provide also produce proper

services and paperwork” has, thus, ensured a “necessary life change.” Id.

       Although Plaintiff “depended on the services” of the “licensed” and

“contracted with [the] State of Florida Doctor Rodriguez,” he “was failed in a simple

uncaring act” of Doctor Rodriguez filing the wrong paperwork. Id. at 9. “All

because of not filing proper paperwork,” Dr. Rodriguez failed “to allow [Plaintiff] a

normal life after breaking [his] left and right heels at [SRCI];” failed “to allow

[Plaintiff] to make second surgery by window period;” and “failed to allow

[Plaintiff] to [get] treated by professional orthopedic specialist.” Id.

       Based on the factual allegations above, Plaintiff asserts the following claims:

1) Eighth Amendment violation; 2) “failure to treat;” 3) “42 U.S.C. § 1983

violation;” 4) “failure to act under color of state law by not allow [sic] me to have

prescribed second surgery;” and 5) “deprivation of right to prescribed second

surgery,” all of which amount to a single claim for deliberate indifference under the

Eighth Amendment. Id. at 10. He seeks $250,000 in relief. Id.

III.   LEGAL STANDARD

       Because Plaintiff is a prisoner proceeding in forma pauperis, the Court must

dismiss his complaint, or any portion thereof, if it determines it is frivolous or

malicious, fails to state a claim on which relief may be granted, or seeks monetary

relief against a defendant who is immune from such relief.             See 28 U.S.C.



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§§ 1915(e)(2)(B). To state a claim, Plaintiff must plead factual content which allows

the Court to draw the reasonable inference the Defendant is liable for the misconduct

alleged. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The Court must read

Plaintiff’s pro se allegations in a liberal fashion, see Haines v. Kerner, 404 U.S. 519,

520–21 (1972), but conclusory allegations and legal conclusions couched as factual

allegations are not entitled to a presumption of truth. Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007); Papasan v. Allain, 478 U.S. 265, 286 (1986).

IV.   DISCUSSION

      The Eighth Amendment prohibits cruel and unusual punishments, such as the

“unnecessary and wanton infliction of pain” upon prisoners. See U.S. Const. amend.

VIII; Ingraham v. Wright, 430 U.S. 651, 670 (1977); Sconiers v. Lockhart, 946 F.3d

1256, 1265 (11th Cir. 2020). Acting with deliberate indifference to a prisoner’s

serious medical need constitutes an unnecessary and wanton infliction of pain.

Estelle v. Gamble, 429 U.S. 97, 104 (1976); see also Harris v. Thigpen, 941 F.2d

1495, 1504 (11th Cir. 1991) (holding that federal and state governments have a

constitutional obligation to provide minimally adequate medical care to their

prisoners). This “does not mean, however, that every claim by a prisoner that he has

not received adequate medical treatment states a violation of the Eighth

Amendment.” Estelle, 429 U.S. at 104. For example, the inadvertent failure to




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provide adequate medical care cannot constitute an unnecessary and wanton

infliction of pain. Id. at 105–06.

      To establish deliberate indifference, a plaintiff “must show: (1) a serious

medical need; (2) the defendants’ deliberate indifference to that need; and (3)

causation between that indifference and the plaintiff’s injury.” Mann v. Taser Int’l,

Inc., 588 F.3d 1291, 1306–07 (11th Cir. 2009). A serious medical need is “one that,

if left unattended, poses a substantial risk of serious harm.” Id. at 1307 (quoting

Farrow v. West, 320 F.3d 1235, 1243 (11th Cir. 2003)). For an actor to be found to

have acted with deliberate indifference to that need, a plaintiff must prove: “(1)

subjective knowledge of a risk of serious harm; (2) disregard of that risk; (3) by

conduct that is more than gross negligence.” Goodman v. Kimbrough, 718 F.3d

1325, 1331–32 (11th Cir. 2013) (quoting Townsend v. Jefferson Cnty., 601 F.3d

1152, 1158 (11th Cir. 2010)). To have subjective knowledge requires that “the

official must both be aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists, and he must also draw the inference.” Farmer

v. Brennan, 511 U.S. 825, 837 (1994); see also McDaniels v. Lee, 405 F. App’x 456,

458 (11th Cir. 2010) (applying the test in the medical context).

      In cases involving medical care, “deliberate indifference” is an extremely high

standard for plaintiffs to meet. Stewart v. Lewis, 789 F. App’x 825, 828 (11th Cir.

2019). It requires more than “merely accidental inadequacy, negligence in diagnosis



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or treatment, or even medical malpractice actionable under state law.” Taylor v.

Adams, 221 F.3d 1254, 1258 (11th Cir. 2000) (citation, quotations, and alterations

omitted). Instead, the medical care provided must be “so grossly incompetent,

inadequate, or excessive as to shock the conscience or to be intolerable to

fundamental fairness.” Stewart, 789 F. App’x at 828.

      Here, Plaintiff’s allegations fall markedly short of pleading a viable claim for

relief. Presuming that Plaintiff’s broken heel constitutes “a serious medical need,”

the amended complaint—like the initial complaint—is completely devoid of any

facts showing that Dr. Rodriguez was deliberately indifferent. See Mann, 588 F.3d

at 1306–07. By Plaintiff’s own admission, Dr. Rodriguez provided him with

treatment and attempted to complete the proper paperwork for him to have a second

surgery. See Sykes v. D.C., 1994 WL 646162, at *2 (D.D.C. Nov. 4, 1994)

(dismissing claim for deliberate indifference where “[b]y plaintiff’s own admissions,

his treatment was delayed because the paperwork was misplaced. Plaintiff’s own

account of the facts demonstrates that prison and hospital officials attempted to

provide prompt treatment for plaintiff’s injury”). The fact that Dr. Rodriguez failed

to file the proper paperwork is, at best, negligent conduct; it does not amount to a

constitutional violation. See, e.g., Pasco v. Carter, 2022 WL 1913015, at *5 (N.D.

Fla. May 13, 2022) (negligently administering wrong medication not deliberate

indifference), report and recommendation adopted, 2022 WL 1910122 (N.D. Fla.



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June 3, 2022); Muhammad v. Dep’t of Corr., 645 F. Supp. 2d 299, 311 (D.N.J. 2008),

aff'd sub nom. 396 F. App’x 789 (3d Cir. 2010) (“No reasonable jury could find that

Nurse Terry’s conduct, in allegedly providing paperwork that gave special

accommodation for metal detector screening when Mr. Muhammad sought the lower

bunk restriction confirmation, occurring on one occasion, rises to the level of

deliberate indifference to his serious medical needs.”)

       Likewise, the additional fact that Baptist Hospital tried to call Dr. Rodriguez,

presumably to inform him of the paperwork error, but was unable to reach him, does

not amount to deliberate indifference. Plaintiff admits those calls occurred around

Christmas or New Year’s and there are no facts showing Dr. Rodriguez was aware

of those calls or even that Baptist Hospital left sufficient information for Dr.

Rodriguez to ascertain the reason for the calls. Regardless, the fact that Dr.

Rodriguez may not have called the hospital back is not the type of “grossly

incompetent” or “inadequate” conduct, which “shocks the conscience” and is

violative of the Eighth Amendment. See Stewart, 789 F. App’x at 828. Thus, while

it is unfortunate that Plaintiff did not get his second surgery, Plaintiff has nonetheless

failed to state a claim for relief.

       Accordingly, it is respectfully RECOMMENDED:

       1.     Plaintiff’s amended complaint, ECF Doc. 11, be DISMISSED under 28

U.S.C. § 1915(e)(2)(B) for failure to state a claim upon which relief can be granted.



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      2.     The clerk be directed to close the file.

      At Pensacola, Florida, this 18th day of November, 2022.



                                 /s/ Hope Thai Cannon
                                 HOPE THAI CANNON
                                 UNITED STATES MAGISTRATE JUDGE




                           NOTICE TO THE PARTIES

Objections to these proposed findings and recommendations must be filed within
fourteen (14) days of the date of this Report and Recommendation. Any different
deadline that may appear on the electronic docket is for the court’s internal use only
and does not control. An objecting party must serve a copy of its objections upon
all other parties. A party who fails to object to the magistrate judge’s findings or
recommendations contained in a report and recommendation waives the right to
challenge on appeal the district court’s order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1.




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